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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATE OF AMERICA                           )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )                         Case No. 08-CR-25-JHP
                                                  )
PHILLIP JEROME WARRIOR,                           )
                                                  )
               Defendant,                         )


                                     ORDER AND OPINION

        Before the Court is Defendant Phillip Jerome Warrior’s Motion for Determination of

Competency. [Docket No. 201].

        In the motion, Defendant alleges that he has a history of mental problems and has been

treated at three mental health facilities in the past. The Government has no opposition to the

Defendant’s motion.

        Based upon the representations of Defendant and his counsel, the Court finds that there is

reasonable cause to believe that Defendant may presently be suffering from a mental disease or

defect rendering him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his defense. 18 U.S.C. §

4241(a). Accordingly, the motion is GRANTED. The Court orders a psychiatric or psychological

examination of Defendant to be conducted, 18 U.S.C. § 4241(b), to determine the mental

competency of Phillip Jerome Warrior as to his current status and at all times relevant to the charges

herein, and commits Defendant to the custody of the Attorney General for placement in a suitable

facility for purposes of examination, for a period not exceeding thirty (30) days, unless extended as

required by law. 18 U.S.C. § 4247(b). The examiner shall file a report in compliance with 18 U.S.C.
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§ 4247(c). Upon receipt of this report, the Court will set a competency hearing.



       IT IS SO ORDERED this 8th day of April, 2008.
